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    Nos. 21-4072, 22-3351, 23-3196, 23-3324, 23-3366 & 23-3417

                                In the
     United States Court of Appeals
                     for the Sixth Circuit


         DAYTON POWER & LIGHT COMPANY, d/b/a AES OHIO;
         AMERICAN ELECTRIC POWER SERVICE CORPORATION;
          DUKE ENERGY OHIO, INC.; FIRSTENERGY SERVICE
                           COMPANY,
                                                                   Petitioners,
                                    v.
            FEDERAL ENERGY REGULATORY COMMISSION,
                                                                  Respondent.
                  _______________________________________

              On Petitions for Review of Orders of the
              Federal Energy Regulatory Commission

    BRIEF OF INTERVENOR FIRSTENERGY SERVICE CO.
              IN SUPPORT OF RESPONDENT
      FEDERAL ENERGY REGULATORY COMMISSION


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             STATEMENT REGARDING ORAL ARGUMENT

      FirstEnergy Service Company on behalf of American Transmission Systems,

Inc. (“ATSI”) respectfully requests oral argument for the reasons set forth in the

opening brief of Petitioners Dayton Power & Light Company, American Electric

Power Service Corporation, and ATSI.




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                                 INTRODUCTION

      American Transmission Systems, Inc. (“ATSI”) owns assets in Ohio used for

transmission of electricity in interstate commerce. The threshold issue in this appeal,

addressed in the opening brief of Petitioners American Electric Power

Service Corporation (“AEP”), Dayton Power & Light Company (“Dayton”),

and ATSI, is whether Federal Power Act Section 219(c) entitles a transmission

owner to an adder (an “RTO Adder”) to the return on equity (“ROE”) component

of its transmission rate by virtue of its membership in a regional transmission

organization (“RTO”), where state law in the state in which the assets are

located requires transmission owners to belong to an RTO.

      That opening brief sets forth ATSI’s position that such a transmission owner

is entitled to the RTO Adder under the plain meaning of the statute. OCC and FERC

disagree with ATSI. If this Court agrees with ATSI, it would resolve the appeal in

ATSI’s favor and obviate the need to consider the additional issue discussed in this

intervenor’s brief on behalf of ATSI.

      If, however, this Court disagrees with ATSI on that threshold issue, ATSI still

should prevail for a separate reason, with which FERC agreed: ATSI’s rate stems

from a “black-box” settlement that neither stated that the rate contained an RTO

Adder nor quantified any such RTO Adder, and it would be contrary to FERC’s




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policy in favor of encouraging settlement to attempt now to speculate on those issues

and unwind the settlement.

      FERC’s order in favor of ATSI on this ground was legally correct and based

on substantial evidence. FERC’s longstanding policy of encouraging settlement

supports its decision not to allow a challenger later to attempt to speculate as to the

amount of one component of the rate produced by a black-box settlement, and then

to strip out that amount. As FERC reasonably explained, doing so would disrupt the

trade-offs that likely were made by the settling parties between various components

of the overall rate, and thus effectively would require revisiting all of the components

rather than just one in isolation.

                                     JURISDICTION

      ATSI adopts the jurisdictional statement set forth in the opening brief of AEP,

Dayton, and ATSI as petitioners.           See CA6 R. 51 (Corr. Pet’r Br. of

Dayton/AEP/ATSI) at 6-7. This Court granted ATSI’s timely motion to intervene.

See CA6 R. 50 (Order) at 3.

                                ISSUE PRESENTED

      Whether FERC reasonably, and consistently with precedent, ruled that ATSI’s

black-box settlement likely reflected trade-offs involving the RTO Adder

component and other components and hence may not be unwound by speculating as




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to the amount of the RTO Adder component and removing it, an approach that would

discourage parties from entering into black-box settlements.

                         STATEMENT OF THE CASE

      RTOs are grid operators to which transmission owners largely turn over

control of operation of the transmission assets, thereby improving overall efficiency

by concentrating control in the hands of a single regional operator. See generally 18

C.F.R. § 35.34. Pursuant to statutory directive, FERC has allowed transmission

owners that belong to an RTO to increase their ROE, a portion of their transmission

rate, by a fixed amount of 0.50% (the “RTO Adder”). See 16 U.S.C. § 824s(c);

Promoting Transmission Inv. Through Pricing Reform, 116 FERC ¶ 61,057 (2006)

(Order No. 679), order on reh’g, 117 FERC ¶ 61,345 (2007) (Order No. 679-A).

AEP, ATSI, and Duke are all members of the RTO known as PJM Interconnection

L.L.C. (“PJM”).

      In 2008 and 2010, the AEP entities made rate filings seeking RTO Adders

amounting to 0.50%. See Am. Elec. Power Serv. Corp. (“AEP I”), 124 FERC

¶ 61,306, P 4 (2008); AEP Appalachian Transmission Co., Inc. (“AEP II”), 130

FERC ¶ 61,075, PP 9, 20 (2010). In both instances, FERC granted AEP an RTO

Adder. See AEP I, P 22; AEP II, P 21.

      In 2015, ATSI set its rates via a comprehensive litigation settlement

agreement without having already received any determination from FERC that it

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was entitled to an RTO Adder. ATSI’s black-box settlement agreement stated that

the overall rate it established would be “inclusive of any incentive adder for RTO

participation,” CA6 R. 51 at A87 (emphasis added), and did not quantify what the

RTO Adder, if any, was. Intervenor Buckeye Power, Inc. (“Buckeye”) was a

party to the settlement agreement. See id. at A73.

      Duke also set its rates via a global settlement without having already

received a FERC order granting one. See generally CA6 R. 59 (Duke Intervenor

Br.) at A1-50. Unlike ATSI’s settlement agreement, Duke’s specified that it

included an RTO Adder of fifty basis points. Id. at A17.

      In 2018, the Ninth Circuit granted California Public Utilities Commission’s

petition for review of a FERC order granting a California transmission owner an

RTO Adder and remanded the case for further proceedings; the court reasoned that

FERC had failed to consider whether a California statute required the company to

join an RTO. Cal. Pub. Utils. Comm’n v. FERC, 879 F.3d 966, 979, 980 (9th Cir.

2018). The Ninth Circuit suggested that an RTO Adder might be unavailable to a

transmission owner that joined an RTO involuntarily (i.e., due to a state-law

requirement). See id. at 977.

      Relying on this authority, OCC filed a complaint at FERC alleging that AEP,

ATSI, and Duke were all wrongfully receiving an RTO Adder despite being subject

to an Ohio statute requiring them to join an RTO. See JA336-37 (OCC Compl.).

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      As discussed in more detail in the Dayton/AEP/ATSI opening brief, FERC

agreed with OCC that AEP should no longer receive an RTO Adder. See JA498

(Compl. Order). FERC accordingly ordered AEP to reduce its rate by 0.50%. Id.

      But FERC declined to do the same to ATSI and Duke. FERC noted that

“Duke’s and ATSI’s ROEs, including any adders, were each embedded in a

comprehensive settlement package submitted to the Commission to resolve a

complex, multi-issue dispute among [ATSI], [its] customers, and other affected

parties.” JA488 (Compl. Order at P 64). Because “we do not know the precise

trade-offs and concessions made by parties to those proceedings during the

settlement process,” FERC found that it would not “be appropriate to change

unilaterally a single aspect of such a comprehensive settlement, at least absent

evidence that the overall ROE has become unjust and unreasonable …” Id.

      On rehearing, FERC again distinguished between AEP on the one hand and

ATSI and Duke on the other hand, on the ground that FERC had awarded

AEP’s RTO Adder before AEP set its overall rates via settlement.               See

JA592-93 (Reh’g Order).

      On appeal, OCC argues that FERC acted arbitrarily and capriciously in failing

to remove an alleged RTO Adder from ATSI’s and Duke’s rates. CA6 R. 47 (Pet’r

Br. of OCC) at 24-49. Buckeye supports OCC’s position. See generally CA6 R. 52

(Intervenor Br. of Buckeye). FERC defends its decision. See generally CA6 R. 55

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(Resp’t Br.) at 47-56. In this intervenor brief, ATSI supports FERC’s decision not

to order ATSI to reduce its ROE.

                             STANDARD OF REVIEW

      This Court may “set aside” FERC’s decision not to order ATSI to reduce its

ROE only if that decision was “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). “The scope of review

under the arbitrary and capricious standard is narrow.” FERC v. Elec. Power Supply

Ass’n, 577 U.S. 260, 292 (2016) (quoting Motor Vehicle Mfrs. Ass’n of United

States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)) (internal

quotation marks omitted). A court may not “substitute [its] own judgment for

[FERC’s]” or “ask whether a regulatory decision is the best one possible or even

whether it is better than the alternatives.” Id. Rather, this Court must uphold

FERC’s order so long as FERC “examined the relevant considerations and

articulated a satisfactory explanation for its action, including a rational connection

between the facts found and the choice made.” Id. (quoting Motor Vehicle Mfrs.

Ass’n, 463 U.S. at 43 (cleaned up)).

      FERC’s “factual findings” are “conclusive” “if supported by substantial

evidence.”     16 U.S.C. § 825l(b).    Substantial evidence means “[t]here was a

reasonable basis” for the findings and “they were not arbitrary.” Cincinnati Gas &

Elec. Co. v. Fed. Power Comm’n, 389 F.2d 272, 277 (6th Cir. 1968). Under the


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substantial evidence standard, this Court “will not reverse a factual determination …

unless [it] find[s] that the evidence not only supports a contrary conclusion, but

compels it.” Gaye v. Lynch, 788 F.3d 519, 525-26 (6th Cir. 2015) (citation omitted).

                           SUMMARY OF ARGUMENT

      FERC did not act arbitrarily and capriciously or contrary to law in declining

to order ATSI to reduce its ROE. FERC’s longstanding policy of encouraging rate-

setting via black-box settlement counsels against disturbing one aspect of a global

agreement. Moreover, FERC’s approval of ATSI’s settlement did not constitute a

legal determination that ATSI was entitled to an RTO Adder. FERC reasonably

concluded, consistent with its precedent, that unwinding a black-box settlement in

which a host of legal and factual issues were compromised by the parties would

discourage settlement.

      OCC and Buckeye’s arguments to the contrary are unavailing. First, contrary

to their characterization of the record, FERC never found that ATSI was receiving

an RTO Adder. Thus, it could not have been arbitrary and capricious for FERC to

decline to order ATSI to decrease its rate by the amount of a supposed RTO Adder.

      Second, OCC fails to show that FERC has ever disturbed a comprehensive

settlement agreement simply because FERC took a new position on a legal issue,

where a dispute on that legal issue may have informed the parties’ earlier settlement

negotiations. A settlement agreement means little if it lasts only until an agency


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changes its mind. FERC’s decision not to order ATSI to reduce its rate was not

arbitrary and capricious.

                                  ARGUMENT

I.    FERC did not act arbitrarily and capriciously when it declined to change
      the rates set forth in ATSI’s settlement agreement simply because FERC
      changed its legal position.

      Although FERC’s order requiring AEP to reduce its ROE was error for the

reasons discussed in the Dayton/AEP/ATSI opening brief, FERC did not act

arbitrarily and capriciously when it declined to order ATSI to reduce its rate by the

amount of a supposed RTO Adder. FERC’s policy in favor of settlement supports

its decision as to ATSI, which set its overall rates through a black-box settlement

that expressly left open whether they included an RTO Adder, and a fortiori the

amount of any such RTO Adder.

      A.     Changing ATSI’s rates would undermine FERC’s policy
             encouraging settlement.

      “FERC … has had a long-term policy in favor of enforcing settlements.”

Transcont’l Gas Pipe Line Corp. v. FERC, 485 F.3d 1172, 1181 (D.C. Cir. 2007)

(citing Brooklyn Union Gas Co. v. FERC, 409 F.3d 404, 405, 407 (D.C. Cir. 2005),

and United Mun. Distribs. Grp. v. FERC, 732 F.2d 202, 209 (D.C. Cir. 1984)). The

D.C. Circuit has relied on this “pro-settlement policy” to uphold FERC’s actions

against arguments that the agency acted arbitrarily and capriciously even when

another course of action might have “brought significant benefits.” Brooklyn Union

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Gas Co., 409 F.3d at 407. As the D.C. Circuit explained, it is “obvious that

[transmission companies] and their customers might hesitate to enter rate settlements

if a subset of settling parties could later pull the rug out from under them.” Id.

      This Court should uphold FERC’s decision in this case for the same reason.

As FERC explained, changing ATSI’s rates to remove a purported RTO Adder

would “undermine the certainty created by settlements.” JA589 (Reh’g Order at

P 33). That is especially true where, as here, the settlement agreement itself

expressly left open whether ATSI was even receiving an RTO Adder at all and, if

so, in what amount. See CA6 R. 51 at A87 (characterizing ROE as “inclusive of

any incentive adder for RTO participation”) (emphasis added).            FERC’s pro-

settlement policy supplies a “satisfactory explanation” for its decision not to order

ATSI to change its rate. Elec. Power Supply Ass’n, 577 U.S. at 292.

      B.     FERC never found that ATSI received an RTO Adder.

      In support of its argument that FERC acted arbitrarily and capriciously, OCC

contends that “FERC explicitly acknowledged that the RTO Adder is in the

transmission rates charged by ATSI … to [its] Ohio consumers.” CA6 R. 47 at

24 (citing JA468, 488-89 (Compl. Order at PP 10, 65)). OCC likewise says that

“FERC relied on [ATSI’s] settlement language in acknowledging that ATSI’s

rates include the increased profits charged to consumers for joining [an RTO].”

Id. at 31. Buckeye makes similar arguments. See CA6 R. 52 at 8-10.


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      OCC and Buckeye misstate the record. FERC never found that ATSI was

receiving an RTO Adder, nor did the evidence compel that conclusion.1 See Gaye,

788 F.3d at 525-56 (agency findings conclusive under substantial evidence standard

unless record evidence compels contrary conclusion).

      In support of its claim that FERC found that ATSI’s rates include an RTO

Adder, OCC cites two portions of the Complaint Order. The first merely recites the

language already quoted from ATSI’s settlement agreement to the effect that ATSI’s

rates are “inclusive of any RTO Adder.” JA468 (emphasis added). As discussed

above, far from showing that ATSI’s rate includes any RTO Adder at all, this

language expressly leaves open whether that is the case.

      OCC’s second citation similarly fails to support its assertion that FERC

found that ATSI’s rate includes an RTO Adder. FERC wrote:

      We … recognize that the ATSI settlement stated that the agreed-upon
      ROEs were inclusive of any incentive adder for RTO participation and
      that ATSI’s affiliates testified in other proceedings that ATSI’s base
      ROE is 9.88%, rather than the 10.38% ROE contained in the ATSI

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   FERC’s brief on appeal correctly states that FERC “never granted [an RTO Adder]
to … [ATSI].” CA6 R. 55 at 56. However, that brief imprecisely suggests that
ATSI’s settlement “purported to include a 50 basis point [RTO Adder],” id. at 59,
when in reality it said only that the rate would be inclusive of “any RTO Adder,”
CA6 R. 51 at A87 (emphasis added). As discussed in more detail below, FERC’s
underlying orders (as opposed to the appellate brief filed by the FERC Solicitor)
never found that ATSI received an RTO Adder. To the extent that some language
in FERC’s appellate brief might suggest otherwise, this Court should not rely on it.
See Sec. and Exch. Comm’n v. Chenery, 318 U.S. 80, 95 (1943) (rejecting agency
attempt on appeal to introduce rationale on which it had not previously relied).
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      settlement. But, as noted, those figures were agreed upon as part of
      integrated, comprehensive settlements of the entire proceeding …

Id. at P 65 (emphasis added). OCC focuses in particular on the italicized words, in

which FERC acknowledged how ATSI’s affiliates testified in subsequent

proceedings. Nowhere did FERC consider whether such testimony constituted

admissible, reliable, or binding evidence concerning the interpretation of ATSI’s

settlement agreement—considerations that would have been essential to a factual

finding about whether ATSI’s rate included an RTO Adder. That is because FERC

made no such finding. Instead, FERC reiterated that it could not know what went

into the settlement agreement determining ATSI’s rate.2

      For its part, Buckeye refers to still other FERC proceedings in which FERC

appended long lists of different energy companies’ base ROEs as part of an overall

rate comparison. See CA6 R. 52 at 9 (citing FERC cases). Because those appendices

list ATSI’s base ROE fifty basis points lower than the overall ROE provided for in


2
   To be sure, FERC referred in its Rehearing Order to “ATSI and Duke, which had
RTO Adders that were embedded in comprehensive settlement packages of the
entire proceedings.” JA590 (Reh’g Order at P 34). This passing reference,
while correct as to Duke (which unlike ATSI had a settlement that quantified
the RTO Adder component) does not constitute a new factual finding that ATSI’s
settlement included an RTO Adder. The full sentence of which it is a part merely
reiterates that it would not be appropriate to modify ATSI’s settlement to remove
any RTO Adder that ATSI may have received.                      Moreover, in its
Complaint Order, FERC scrupulously (and correctly) avoided language stating
that ATSI received an RTO Adder, referring instead to “ATSI’s ROE[], including
any adder[].” JA488 (Compl. Order at P 64). FERC’s Rehearing Order gives no
indication that it modifies the Complaint Order in that regard.
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ATSI’s settlement, Buckeye concludes that FERC found ATSI was receiving an

RTO Adder. See id. But the FERC cases Buckeye cites never considered whether

ATSI was receiving an RTO Adder. In any event, Buckeye cannot rely on other

proceedings not before this Court to substitute for FERC’s failure to find, in this

proceeding where it mattered, that ATSI is receiving an RTO Adder. As a party to

ATSI’s settlement, Buckeye could have negotiated a different ROE or different

language with respect to the RTO Adder. Having failed to do so, it should not be

allowed to achieve the same result by reinterpreting FERC cases that tangentially

referred to ATSI’s ROE for unrelated purposes.

       FERC did not find that ATSI was receiving an RTO Adder, and the record

evidence did not compel that conclusion. See Gaye, 788 F.3d at 525-26 (substantial

evidence standard requires affirmance unless record compels contrary conclusion).

Accordingly, FERC did not order ATSI to reduce its ROE to account for the removal

of any RTO Adder. Thus, there was a “rational connection between the facts found

and the choice made” with respect to ATSI. Elec. Power Supply Ass’n, 577 U.S. at

292.

       OCC and Buckeye argue that FERC necessarily approved the RTO Adder

when it approved ATSI’s settlement agreement. See CA6 R. 47 at 33; CA6 R. 52 at

8. But FERC did not find that it had approved an RTO Adder for ATSI, because the

settlement agreement that FERC approved did not say that it included an RTO

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Adder, and instead it was a “black-box” settlement agreement that did not identify

or enumerate any of its components. See CA6 R. 51 at A87 (ATSI’s rates “inclusive

of any incentive adder for RTO participation”) (emphasis added).

      OCC and Buckeye’s argument fails for the additional reason that approving a

settlement agreement is not the same as making a legal determination that a party is

entitled to an RTO Adder. When ATSI sought approval of its rate litigation

settlement, the question for FERC was whether ATSI’s overall rates were “just and

reasonable.” See 16 U.S.C. § 824d(a). There is a “zone of reasonableness” within

which “courts are without authority to set aside any rate selected by [FERC].” E.

Tenn. Nat. Gas Co. v. FERC, 686 F.2d 430, 435 (6th Cir. 1982) (quoting Mobil Oil

Corp. v. Fed. Power Comm’n, 417 U.S. 283, 307 (1974)).

      OCC and Buckeye’s only argument that ATSI’s overall rates are not just and

reasonable is that they include the RTO Adder. See CA6 R. 47 at 32-33; CA6 R. 52

at 10-12. Again, FERC did not find that ATSI’s rates include the RTO Adder.

Moreover, OCC and Buckeye cite no legal authority for the proposition that rates set

pursuant to a settlement that potentially reflects one answer to a legal question

necessarily become unjust and unreasonable simply because FERC later answers

that question differently. Their argument is also contrary to generally accepted legal

principles. See, e.g., Powell v. Omnicom, 497 F.3d 124, 128 (2d Cir. 2007) (“When

a party makes a deliberate, strategic choice to settle, a court cannot relieve him of

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that choice simply because his assessment of the consequences was incorrect.”

(citation omitted)).

      Finally, OCC argues that FERC should have addressed OCC’s argument that

the language in ATSI’s agreement was necessary to prevent ATSI from seeking an

RTO Adder after settlement. See CA6 R. 47 at 36-37. That argument is irrelevant.

ATSI is not now seeking, and has not sought since the settlement, to increase its rate

by adding an RTO Adder. Rather, OCC wants FERC to order ATSI to reduce its

ROE based on a claim that it improperly includes an RTO Adder. Thus, even if

OCC is right that the language of ATSI’s agreement prevents ATSI from seeking an

RTO Adder, that does not mean that ATSI is already receiving an RTO Adder, much

less that FERC so found in the proceedings below.

      C.     OCC cites no case in which FERC disrupted a comprehensive
             settlement agreement simply because FERC changed its legal
             position.

      OCC argues that FERC has previously allowed challenges to a single issue

related to a settlement agreement, such that its failure to do so in this case was

arbitrary and capricious. To the extent that OCC’s argument depends on the premise

that FERC found that ATSI was receiving an RTO Adder, ATSI respectfully refers

the Court to the previous section of this brief. In any event, OCC fails to establish

that FERC has ever undone a settlement based on a single-issue legal challenge,




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much less that FERC must always undo settlements negotiated before FERC

changed its legal position.

      OCC first cites cases in which FERC set for hearing and settlement procedures

consumer challenges alleging that an energy company’s rates were no longer just

and reasonable. See N.C. Elec. Membership Corp. v. Duke Carolinas, LLC, 155

FERC ¶ 61,048 (2016); Golden Spread Elec. Coop., Inc. v. Sw. Pub. Serv. Co., 150

FERC ¶ 61,052 (2015). OCC’s characterization of these cases as single-issue

challenges is questionable, as both involved competing discounted cash-flow

methodologies that differed in many respects. See N.C. Elec., 155 FERC ¶ 61,048,

PP 8-20 (recounting myriad contested methodological issues); Golden Spread, 150

FERC ¶ 61,052, PP 6-31 (same). But even more clearly, neither case involved RTO

Adders, and there is no indication of the ultimate disposition of the claims.

      In any event, FERC concluded here that there was no showing that ATSI’s

overall rates have become unjust or unreasonable, JA488 (Compl. Order at P 64),

and OCC fails to show that FERC’s determination is unsupported by

substantial evidence. See Int’l Transmission Co. v. FERC, 988 F.3d 471, 486

(D.C. Cir. 2012) (applying substantial evidence standard to determination

whether rates just and reasonable).          Moreover, the cases OCC cites do not

address when, if at all, FERC should modify a settlement agreement to account

for its changed position on a discrete legal issue, as opposed to changed factual

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circumstances affecting whether the overall rate remains just and reasonable. Still

less do these FERC cases mandate that FERC must always unwind settlement

agreements reached before its legal position changed.           Thus, there is no

inconsistency between the FERC cases OCC cites and FERC’s order here.

      OCC also cites a D.C. Circuit opinion that it says “acknowledged” FERC’s

cases in which FERC encouraged settling parties to specify the components of their

rates. See CA6 R. 47 at 45 (citing Gulf South Pipeline Co., LP v. FERC, 955 F.3d

1001, 1014 (D.C. Cir. 2020)). But as OCC concedes, that case had nothing to do

with single-issue challenges to rates set by a black-box settlement agreement. See

id. OCC’s inference from a mere observation to a legal rule about when FERC must

unwind settlement agreements is a non sequitur.

      OCC notes that, even if FERC had reduced ATSI’s rate, there would have

been other mechanisms available to ATSI to avoid cost under-recovery. See CA6

R. 47 at 46 (citing Va. Elec. & Power Co., 123 FERC ¶ 61,098 (2008)). But the

mere availability of such mechanisms is irrelevant to whether FERC was required to

unwind ATSI’s comprehensive litigation settlement.

      Finally, OCC argues that FERC always granted RTO Adders to companies

that had joined an RTO. See CA6 R. 47 at 35. But substantial evidence supports

FERC’s contrary factual finding that “[w]e do not know” what trade-offs led to the




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overall rates within which ATSI’s RTO Adder, if any, was embedded.                 See

JA488 (Compl. Order at P 64).

      FERC’s routine practice of granting RTO Adders at the time of the ATSI

black-box settlement did not guarantee that FERC would always do so in the future,

as these very appeals demonstrate. In particular, the same legal arguments that

FERC has now accepted (subject to this Court’s pending review) were not only

available at the time of ATSI’s 2015 rate settlement, but were actively being litigated

at FERC. See Cal. Pub. Utils. Comm’n, 879 F.3d at 972 (noting 2014 and 2015

challenges to RTO Adder at FERC based on involuntariness of RTO membership).

      Parties settle litigation to manage legal uncertainty.        In this instance,

uncertainty about the RTO Adder could well have played a role in the negotiations

that led to the ATSI black-box settlement. For example, the parties may have

partially or entirely discounted the RTO Adder because of the possibility that FERC

might accept the legal arguments that it eventually did accept in these cases, and that

FERC would prevail on appeal. Or the parties may have discounted or eliminated

the RTO Adder as part of the black-box settlement because of concessions in favor

of ATSI on other rate components. At a minimum, substantial evidence supports

FERC’s conclusion that such unknown trade-offs likely informed ATSI’s overall

settlement. See Cincinnati Gas & Elec. Co., 389 F.2d at 277.




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                                 CONCLUSION

      This Court should vacate FERC’s orders at issue in these cases for the reasons

stated in the joint sections of the Dayton/AEP/ATSI brief: FERC’s voluntariness

requirement is contrary to law, and Ohio’s statute is preempted. To the extent that

the Court reaches the issue addressed in this intervenor’s brief, the Court should

uphold FERC’s order declining to require ATSI to reduce its rate.


                                        Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

        I certify that this brief complies with the typeface requirement of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirement of Rule 32(a)(6)

because it is written in 14-point Times New Roman font, a proportionately spaced

font.

        I further certify that this brief complies with the type-volume limitation of

Fed. R. App. P. 32(a)(7)(B) and this Court’s July 12, 2023 order, because it

contains 4,242 words, excluding the parts exempted from length limits by

Federal Rule of Appellate Procedure 32(f).


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                          Transmission Systems, Inc.




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                          CERTIFICATE OF SERVICE

      I certify that, on November 21, 2023, I electronically filed the foregoing brief

with the Clerk of the Court by using the appellate CM/ECF system.

      I further certify that all participants in the case are registered CM/ECF users

and will be served by the appellate CM/ECF system.


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